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    8                          UNITED STATES DISTRICT COURT
    9                        CENTRAL DISTRICT OF CALIFORNIA
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   11    SPECTRUM LABORATORIES,                  Case No. SACV 19-962-GW-AGRx
         LLC,
   12
                             Plaintiff,
   13                                              ORDER TO DISMISS WITH
               v.                                  PREJUDICE
   14
         MICHAEL TANDBERG, et al.,
   15
                             Defendants.
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              Based upon the stipulation between the parties and their respective counsel,
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        it is hereby ORDERED that this action is dismissed with prejudice in its entirety.
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        Each party will bear its own attorneys’ fees and expenses. Court retains
   21
        jurisdiction as to the terms.
   22
              IT IS SO ORDERED.
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        Dated: January 4, 2021
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                                              _________________________________
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                                              HON. GEORGE H. WU,
   27                                         UNITED STATES DISTRICT JUDGE
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